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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

In re:                                             §
                                                   §
Bouchard Transportation Co., Inc.,                 §     Case No. 20-34682
et al.,                                            §
                                                   §
    Debtors.                                       §
ST Engineering Halter Marine & Offshore        §
d/b/a Halter Marine & Offshore,                    §
                                                   §
    Plaintiff,                                     §
                                                   §
                       v.                          §     Adv. No. 21-3043
                                                   §
M/V Ralph Bouchard and                             §
Bouchard Transportation Co., Inc.,                 §
                                                   §
    Defendants.                                    §

                               Stipulation and Agreed Order

         Based on the agreement of the parties, it is hereby ORDERED THAT:

         1.      The deadline for the Defendants to answer the Plaintiff’s complaint in
                 the above-captioned adversary proceeding [Doc. No. 1] is extended until
                 September 15, 2021.

         2.      All of the parties’ respective claims and defenses are preserved.




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Agreed and requested to be entered:

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and Debtors in Possession




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